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                     EXHIBIT 4
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       VALUATION
       MEASURING AND
       MANAGING THE
       VALUE OF
       COMPANIES
       SEVENTH EDITION



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       Marc Goedhart
       David Wessels
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                                 Why Value Value?

       The guiding principle of business value creation is a refreshingly simple con-
       struct: companies that grow and earn a return on capital that exceeds their cost
       of capital create value. Articulated as early as 1890 by Alfred Marshall,1 the con-
       cept has proven to be both enduring in its validity and elusive in its application.
           Nevertheless, managers, boards of directors, and investors sometimes
       ignore the foundations of value in the heat of competition or the exuberance of
       market euphoria. The tulip mania of the early 1600s, the dot-coms that soared
       spectacularly with the Internet bubble, only then to crash, and the mid-2000’s
       real estate frenzy whose implosion touched off the financial crisis of 2007–2008
       can all to some extent be traced to a misunderstanding or misapplication of
       this guiding principle.
           At other moments, the system in which value creation takes place comes
       under fire. That happened at the turn of the twentieth century in the United
       States, when fears about the growing power of business combinations raised
       questions that led to more rigorous enforcement of antitrust laws. The Great
       Depression of the 1930s was another such moment, when prolonged unemploy-
       ment undermined confidence in the ability of the capitalist system to mobilize
       resources, leading to a range of new policies in democracies around the world.
           Today many people are again questioning the foundations of capitalism,
       especially shareholder-oriented capitalism. Challenges such as globalization,
       climate change, income inequality, and the growing power of technology titans
       have shaken public confidence in large corporations.2 Politicians and com-
       mentators push for more regulation and fundamental changes in corporate

       1 A. Marshall, Principles of Economics (New York: Macmillan, 1890), 1:142.
       2
        An annual Gallup poll in the United States showed that the percentage of respondents with little or
       no confidence in big business increased from 27 percent in 1997 to 34 percent in 2019, and those with
       “a great deal” or “quite a lot” of confidence in big business decreased by five percentage points over
       that period, from 28 percent to 23 percent. Conversely, those with “a great deal” or “quite a lot” of
       confidence in small business increased by five percentage points over the same period (from 63 percent
       in 1997 to 68 percent in 2019). For more, see Gallup, “Confidence in Institutions,” www.gallup.com.


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